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/ © RECEIVED “yi7ED STATES DISTRICT COURT -
JUN 129 ASTERN DISTRICT OF TEXAS O3 Ju
MARSHALL DIVISION
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(1) PSKS, Inc. d7672 : §
Kloset...Kay’s Shoes; and §
(2) Toni Cochran, L.L.C., d/b/a Toni’s §
Plaintiffs. § .
v. § Civil Action No. 2:03-CV-107
§
(1) Leegin Creative Leather Products, § (Ward)
Inc. §

Defendant.

DEFENDANT LEEGIN CREATIVE LEATHER PRODUCTS, INC.’S
MOTION TO DISMISS PLAINTIFFS’ CLAIMS FOR FRAUD
AND SUPPORTING BRIEF

Defendant Leegin Creative Leather Products, Inc. (“Leegin’”’) files this Motion to Dismiss
Plaintiffs’ Claims for Fraud, and Supporting Brief (the “Motion” and respectfully would show
the Court as follows:

Plaintiffs have asserted claims for fraud against Leegin. However, Plaintiffs’ Petition
does not satisfy the pleading requirements of FED. R. Civ. P. 9(b). Rule 9(b) is intended to
identify and discard exactly this type of vaguely pleaded complaint. See Williams v. WMX
Techs., Inc., 112 F.3d 175, 177-80 (5th Cir. 1997), cert. denied, 522 U.S. 966. Pursuant to FED.
R. Civ. P. 9(b), Plaintiffs must plead the elements of fraud with particularity. See Shushany v.
Allwaste, Inc., 992 F.2d 517, 521 (5th Cir. 1993) (“allegations of fraud must meet a higher, or
more strict, standard than the basic notice pleading”). Particularity requires inclusion of the

“time, place and contents of the false representations, as well as the identity of the person making

the misrepresentation and what [that person] obtained thereby.” Williams, 112 F.3d at 177

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(citing Tuchman v. DSC Communications Corp., 14 F.3d 1061, 1068 (Sth Cir. 1994)). To satisfy
Rule 9(b), a plaintiff must plead facts, not merely conclusory allegations.’

Plaintiffs’ Complaint contains a scant one paragraph listing the allegations which consist
of Plaintiffs’ fraud claim. Basically, Plaintiffs allege that if Leegin overbilled Plaintiffs for
shipping, they were victims of fraud. Plaintiffs have failed to identify not only the alleged
misrepresentations, but also the who, what, when, and where of the fraud claims as required by
Rule 9(b). Thus, Plaintiffs’ fraud claims should be dismissed. United States v. Columbia/HCA
Healthcare Corp., 125 F.3d 899, 903 (Sth Cir. 1997) (“At a minimum, Rule 9(b) requires that
plaintiff set forth the ‘who, what, when, where, and how’ of the alleged fraud.”) (citing Williams,
112 F.3d at 179).

WHEREFORE, Leegin Creative Leather Products, Inc. respectfully requests the entry of
an order dismissing Plaintiffs’ claims for fraud and for such other and further relief to which

Leegin is justly entitled.

 

' Rule 9(b)’s particularity requirement applies equally to state law fraud claims. Williams, 112 F.3d at 177.

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Dated: June 5, 2003.

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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the above and foregoing instrument was

served on the parties listed below, by first-class mail, postage prepaid on this 5" day of June,

2003:

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TEXAS

MARSHALL DIVISION
(1) PSKS, Inc. d/b/a Kay’s §
Kloset...Kay’s Shoes; and §
(2)Toni Cochran, L.L.C., d/b/a Toni’s §
Plaintiffs. §
Vv. § Civil Action No. 2:03-CV-107
§
(1) Leegin Creative Leather Products, § (Ward)
Inc. §

Defendant.

ORDER GRANTING DEFENDANT
LEEGIN CREATIVE LEATHER PRODUCTS, INC.’S
MOTION TO DISMISS PLAINTIFFS’? CLAIMS FOR FRAUD

Having considered Defendant Leegin Creative Leather Product Inc.’s Motion to Dismiss
Plaintiffs’ Claims for Fraud, any response thereto, and the argument of counsel, the Court is of
the opinion that the Motion has merit and should be granted. Accordingly, the Court hereby

grants the Motion and dismisses Plaintiffs’ claims for fraud with prejudice.

SO ORDERED this day of , 2003.

 

United States District Court Judge

ORDER — Solo Page
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